Case No. 1:14-cr-00231-WJM Document 10-13 filed 06/04/14 USDC Colorado pg 1 of 4




 DEFENDANT 13:      SIDNEY TAYLOR

 YOB:               1965

 ADDRESS:           Denver County, Colorado

 COMPLAINT FILED?             YES           NO

        IF YES, PROVIDE MAGISTRATE CASE NUMBER:

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                           YES             NO

 OFFENSE:    COUNT ONE – Title 21, United States Code, Sections 841(a)(1),
             841(b)(1)(B)(ii)(II), 841(b)(1)(B)(iii), 841(b)(1)(C), and 846: On or about and
             between June 1, 2013, and June 4, 2014, both dates being approximate and
             inclusive, did knowingly and intentionally conspire to distribute and possess with
             the intent to distribute, one or more of the following controlled substances: (1)
             more than 500 grams but less than 5 kilograms of a mixture or substance
             containing a detectable amount of cocaine, a Schedule II Controlled Substance;
             (2) more than 28 grams but less than 280 grams of a mixture or substance which
             contains cocaine base; (3) less than 100 grams of a mixture or substance
             containing a detectable amount of heroin, a Schedule I Controlled Substance; (4)
             less than 50 grams of a mixture or substance containing a detectable amount of
             methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
             Controlled Substance.

             COUNT TWELVE - Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about November
             23, 2013, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 28 grams of a mixture or substance containing cocaine base, a
             Schedule II controlled substance, and did knowingly and intentionally aid, abet,
             counsel, command, induce or procure the same.

             COUNT THIRTEEN: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about November
             23, 2013, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 500 grams of a mixture or substance containing a detectable
             amount of cocaine, a Schedule II controlled substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.

             COUNTS FOURTEEN AND FIFTY: Title 21, United States Code, Sections
             843(b) and 843(d) – did knowingly or intentionally use a communications device,
             specifically a telephone, in committing, or in causing or facilitating the
             commission of, a felony delineated in Title 21 of the United States Code.
Case No. 1:14-cr-00231-WJM Document 10-13 filed 06/04/14 USDC Colorado pg 2 of 4




             COUNT TWENTY-ONE: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about December
             10, 2013, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 500 grams of a mixture or substance containing a detectable
             amount of cocaine, a Schedule II controlled substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.

             COUNT TWENTY-TWO: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about December
             10, 2013, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 28 grams of a mixture or substance containing cocaine base, a
             Schedule II controlled substance, and did knowingly and intentionally aid, abet,
             counsel, command, induce or procure the same.

             COUNT TWENTY-THREE: Title 21, United States Code, Sections 841(a)(1)
             and 841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about
             December 11, 2013, did knowingly and intentionally distribute and possess with
             the intent to distribute less than 28 grams of a mixture or substance containing
             cocaine base, a Schedule II controlled substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.

             COUNT THIRTY-TWO: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about January 6,
             2014, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 28 grams of a mixture or substance containing cocaine base, a
             Schedule II controlled substance, and did knowingly and intentionally aid, abet,
             counsel, command, induce or procure the same.

             COUNT THIRTY-THREE: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about January 6,
             2013, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 500 grams of a mixture or substance containing a detectable
             amount of cocaine, a Schedule II controlled substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.

             COUNT FORTY-NINE: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about February
             26, 2014, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 500 grams of a mixture or substance containing a detectable
             amount of cocaine, a Schedule II controlled substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.




                                              2
Case No. 1:14-cr-00231-WJM Document 10-13 filed 06/04/14 USDC Colorado pg 3 of 4




             COUNT FIFTY-ONE: Title 21, United States Code, Sections 841(a)(1) and
             841(b)(1)(C) and Title 18, United States Code, Section 2 – On or about February
             28, 2014, did knowingly and intentionally distribute and possess with the intent to
             distribute less than 500 grams of a mixture or substance containing a detectable
             amount of cocaine, a Schedule II controlled substance, and did knowingly and
             intentionally aid, abet, counsel, command, induce or procure the same.

             Notice of Forfeiture


 LOCATION OF OFFENSE:        Arapahoe County, Colorado
 (COUNTY/CITY/STATE)

 PENALTY:    COUNT ONE: NLT 5 years and NMT 20 years imprisonment, $5 million fine, or
             both; NLT 4 years supervised release, $100 Special Assessment Fee.

             COUNT TWELVE: NMT 20 years imprisonment, $1 million fine, or both; NLT
             3 years supervised release, $100 Special Assessment Fee.

             COUNT THIRTEEN: NMT 20 years imprisonment, $1 million fine, or both;
             NLT 3 years supervised release, $100 Special Assessment Fee.

             COUNTS FOURTEEN AND FIFTY: NMT 4 years imprisonment, $250,000.00
             fine, or both; NMT 1 year supervised release; and a $100 Special Assessment Fee
             (per count).

             COUNT TWENTY-ONE: NMT 20 years imprisonment, $1 million fine, or both;
             NLT 3 years supervised release, $100 Special Assessment Fee.

             COUNT TWENTY-TWO: NMT 20 years imprisonment, $1 million fine, or
             both; NLT 3 years supervised release, $100 Special Assessment Fee.

             COUNT TWENTY-THREE: NMT 20 years imprisonment, $1 million fine, or
             both; NLT 3 years supervised release, $100 Special Assessment Fee.

             COUNT THIRTY-TWO: NMT 20 years imprisonment, $1 million fine, or both;
             NLT 3 years supervised release, $100 Special Assessment Fee.

             COUNT THIRTY-THREE: NMT 20 years imprisonment, $1 million fine, or
             both; NLT 3 years supervised release, $100 Special Assessment Fee.

             COUNT FORTY-NINE: NMT 20 years imprisonment, $1 million fine, or both;
             NLT 3 years supervised release, $100 Special Assessment Fee.

             COUNT FIFTY-ONE: NMT 20 years imprisonment, $1 million fine, or both;
             NLT 3 years supervised release, $100 Special Assessment Fee.
                                              3
Case No. 1:14-cr-00231-WJM Document 10-13 filed 06/04/14 USDC Colorado pg 4 of 4




 AGENT:          Special Agent Sara Aerts
                 Federal Bureau of Investigation

 AUTHORIZED BY:             ZACHARY PHILLIPS
                            Assistant U.S. Attorney



 ESTIMATED TIME OF TRIAL:

        five days or less              over five days               other

 THE GOVERNMENT

         will seek detention in this case                will not seek detention in this case

 The statutory presumption of detention is applicable to this defendant.

 OCDETF CASE:                        Yes WC CO 636                 No




                                                      4
